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Case 4:20-cv-01115 Document 417 Filed on 09/30/20 in TXSD Page 1 of 21

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, SEP 3.0 2020

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David vy. Brewis sc

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ron ee Pack \ Yak 1s \rombVinty Vhe spcvad at Const - 14

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aes Akay Go act go. The \adly Who was ddveq yhe best on
ye ZN sa\0 +o me “someone \nas been deowking Coffee” L
SoA\d \new a) “L wos Ocal vg Some When Wey come do Geb
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Covid-4 Yeu do wot avty tost ahem gain Last one af the Guys
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AAW ho wok Sed Aaum ic. LT haute not gotten test arievantes back
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WAS Wr Wale ogy Set Fore Ane inside out 293 years in hert and
ak Gib) , vt ‘WE ua do Ane crime You do Ae Aime Sic.

Respectfully
Lrayd E. Burrus FFe4sSy
“efs CURATIVE Document 417 Filed on 09/30/20 in TXSD_ Page 2 of 21
ode KORVA Seen

COVID-19 Test Kit Instructions ‘payejs jas $307]

Please use caution when handling the sample collection tube. The contents are used to aid in sample stabilization,
however they are hazardous. DO NOT EAT OR DRINK CONTENTS! It can cause skin and eye irritation. Use
caution in handling this tube. Call poison control if you come in contact with this sample stabilization solution.

    

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Ss swab

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soid vk was okay. . Sic

Open the bag, peel open the swab package
{-—srremsve The Sb Do not touch the
swab or place swab on any surface area
before or after sample collection.

Hold the swab on its score line. Cough deeply
3-5 times and swish phiegm or spit around
mouth. Then swab; a. inside of each cheek

b. upper and lower gums, c. underneath

and top of tongue, d. roof of mouth.

 

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4na Wie . Vatcefars aay deing ahal no y be on er
“ard S \s ww MRe Avbe also.

   

Uncap the lid of the tube and insert the

swab with the saliva sample into the tube.
Align the score with the top of the tube.
Carefully break the swab at the score line.

Securely cap the tube. Turn it upside on he
down several times to mix specimen with
tube solution. Please print your name,
date of birth and collection date on the
tube label. Use capital letters.

Please print your name, date of birth and
collection date on the bag label. Use
capital letters. Put the tube back into the
biohazard bag, ensure the absorbent pad
is inside, and seal the top of the bag.

 

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Return sample bag back to oO
sample collection facilitator.

 

 

 

1 Results will be available within 48 hours

tiveinc.
:48 of receipt of sample to the lab. Curanwveinecom

 

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€9°° CURATIVE 9
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Instrucciones para el kit COVID-19

ta estabilizacién de la muestra, sin embargo, son peligrosas. NO COMA NI BEBA CONTENIDO! Puede causar
irritacién en ta piel y los ojos. Tenga precaucién at manipular este tubo. Llame a control de envenenamiento si

j Por favor tenga cuidado al manipular el tubo de muestras colectadas. Los contenidos se utilizan para ayudar en
entra en contacto con esta solucién de estabilizacién de muestra.

NO CONSUMA...

20 MINUTOS
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ym Caam O1NS)9)[O1R TMT el LMT (OR SLMS AL [OTOL OMOR ROLE ORAL CILIOL

Abra la bolsa, retire el empaque del hisopo y
saque el hisopo. No lo toque ni lo coloque
sobre ninguna superficie antes o después
de la recoleccién de la muestra.

 

Sostenga el hisopo en su linea de puntuacion. Tosa
profundamente de 3 a 5 veces y dele vuelta ala flema

o Saliva dentro la boca. Entonces use el hisopo: a. eo
frotando dentro de cada mejilla b. luego las encias, «
la parte superior e inferior c. seguidamente, debajo

y encima de la lengua d. finalmente, el paladar.

Destape la tapa de! tubo e inserte el hisopo con la
muestra de saliva en el tubo. Alinee el marcador
con la parte superior del tubo. Con cuidado,
rompa el hisopo en la linea de puntuacién del
marcador.

Acontinuacion, tape bien el tubo. Déle la vuelta
varias veces para mezclar la muestra con la

solucién del tubo. Por favor, escribasu
nombre, fecha de nacimiento y fecha de

recoleccién en la etiqueta del tubo.

Por favor, escriba su nombre, fecha de
nacimiento y fecha de recoleccion en la etiqueta
de la bolsa. Utilizar letras mayUsculas. Vuelva a
colocar el tubo en el bolsa de riesgo bioldgico,
asegurese de que la almohadilla absorbente esté
adentro y selle la parte superior de la bolsa.

 

 

Regrese la bolsa con la muestra al facilitador oe
encargado de recoger las muestras.

 

 

- wl Los resultados estaran disponibles en 48 horas
:48 luego de recibir la muestra en el laboratorio.

 

 

 

 

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Texas Department of Criminal Justice

) OFFENDER
STEP 1 crtevance Form

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Offender Name: _Lhoud £. Buervss os rocu# BUYSSY
Unit: Rack \ wk Housing Assignment: A -Y-\4 _

Unit where incident occurred: odd \ Va

 

OFFICE USE ONLY

Grievance #: 20153 § 5

Date Received:

Date Due: OFlO7] 20 |
Grievance cote Po + YG? )
Investigator ID «fae Ty 5 5

Extension Date:

JUL 27 2099

Date Retd to Offender:

 

 

 

 

You must try to resolve your preblem with a staff member before you submit a formal complaint. The only exception is when

appealing the results of a disciplinary hearing.

Who did you talk to (name, utley? YYNS .N Say, ood noth Wardeas _ a

What was their response? Sente 3-95 ay kh na FRSAONSE
What action was taken? This Greiwoncr

*

State your grievance in the space provided. Please state who, what, when, where and the d

__ When? T- I~ Q) ~-20 >

isciplinary case number if appropriate

IIs Covid-A_ is, Spreading \ Welk TL can Show You - =o A-Y

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Sod uy anit on 7 -\9-20 Gnd came bark (a Ser Wis trip)
gr 3: Ram wrth no quarantine at al). They tell us (i

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to 4 dlocm on "7 -A1- XO
nmates) do help prevent

rt S028 ox Covid - a Wer oy (Rock) doin their art Th
QL WOMAS leh on Ae Vine. When someone leaves the unrt are they ct suppose.

 

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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

 
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Action Requesied io resolve your Complain. Pac \ cont Six is | problem || bb | tL believe _ thet
Edwods Low con. ee
Offender Signature: Rod ©. Boru oo eewies 7-33-00 8

we.» Dey Se Re WR te ate

 

5 Se SRO ee eT

Grievance Response: . . . . og :
P Your grievance has been received and investigated. Per Classification when an

offender returns from Hospital Galveston they do not have to go through the 14 day
quarantine, however, when an offender returns from a free world hospital they must go
through the 14 day quarantine. The Pack Unit is following protocol and procedure that
has been set forth by TDCJ regarding COVID-19 when housing offenders. No further
action warranted at this time.

  
 

J.C. Gonzales
Fic Assistant Warden, <P Wheblaate

ie “Regis Recor ine date of he Sten bo orpeanse.

 
  

Sizaauure Autiigrity: ,
IY vou are dissatisfied with dio Ate;
Staic the reason for appca! orf the Step 2 Farin.

 

 

 

 

 

 

Returned hecause: “Resahmit this form when the corrections are :ruste.
(41. Grievable time period has expired. . gS Sem nm cama: oc 9m nae meme: ems a mc
(2) 2. Submission in excess of ] every 7 days. * OP PICR osk QuLY
oo ou Viet svbomive on “EG Tnitiais:
P33. Originals set cule itted. * i
(1) 4. Inspprosriaic’ Excessive attachments. * . CO oo
- ; Seresming Criteid Used:
L] 5. No documented attempt at informal resolution. *
_ Date Reed fois Offonaer, ce ues an
5 6. No requested reliefis stated. *
” Date Returaes o Gifoucer: _— ee —_
7. Muaiicious use of vulgar, indecent, or physically threatening language. * . ..
. , s+ Submission UG: Initiats:
8%. The issue presented is not grievable. ; a
G ssue p € grievable Grievance #: _ a a
[-] 6. Redundant, Refer to grievance # Screening Criteria Used: _ ee
[J 10. ilegible/Incomprehensible. * nate Reed from Ul fender:
L] 11. Inappropriate. * Date Returned to Oifender: ___ ee
UGI Printed Name/Signature: 3 Submission UG) Initiats:_
Grievance #: .
Application of the screening criteria for this grievance is not expected to adversely
’ Screening Criteria Used:
Affect the offender’s health.
Date Recd from Offender: -
Medical Signature Authority: _ Date Returned to Offender:

 

 

 

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Appendix
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OFFICE USE ONLY

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Texas Department of Criminal Justice | Grievance #: A v2o/§ 384
UGI Recd Date: Alls t 2028
STEP 2 OFFENDER | soneanne SO
GRIEVANCE FORM |... 14-20

Offender Name: Llou dE. Bur russ TDCJ # 36 YSs Grievance Code: | Sx
Unit: Dede \ Housing Assignment: i -4-1Y Investigator ID#: IAUUS

Unit where incident occurred: Paci \ Extension Date:

 

 

 

 

You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted. You may not appeai to Step 2 with u Step 1 that has been returned unprocessed.

 

Give reason for appeal (Be Specific). fam n dissatisfied with the response at Step 1 because...

e 4 Mov said in vour own answte oo my
Ste \ shat At py et on Offense must onder go quack nt me is

Wher Ah&y Gp Ap _& Teta world v4tc\' Well Phe ask” ty mt I was
‘vy Galveston Gx, hosqial Tr wos a free world hospitg) 1! So atthe
We _ gowns Fieve 0 tho Pack | wort does not Kyaw what she js
4o\Kiag about og VOC) NEWT to change thaic erotocol and procedure
piden Comes bo Gogtankinane Gn off mdte when they retry from
G£cer world hospital "Gal yeshon” | Tam just guess ing, bur think
vs ust the Grieve ale officer does not Know what She 15 doing nor
ors Yre RadlC \ Vay ween ‘> en “a4 Guarino ney Wwhin return ing
Leon Gmudoast. | Theat \S_Wwiny the PadOV Unit ‘8 Vaading +he (ci son
System An GIS ond demdhs and dunsville oc Someswneeds to shee
WW nef e wr Gomatss) all die From Covid- (9. Rather we hayr 3
PM yols oc 20 in Prison to do. Welinmaks) are qil_on death
Ro\\ Fides now On the. Wallace Pack Unis!

 

 

 

 

 

 

 

 

 

 

 

 

 

1-128 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

 
Case 4:20-cv-01115 Document 417 Filed on 09/30/20 in TXSD Page 7 of 21

 

 

 

 

 

Offender Signature: dooyy CT. Burge

Date: ¥ - $-

20

 

Grievance Response:

Your Step 2 grievance has been investigated by this office. You were appropriately advised at
Step 1 level. Please refer to that response. The Wallace Pack Unit is following all Center for
Disease Contol and State of Texas guideline to prevent the spread of COIVD-19. No further action
warranted by this office.

Signature Authority:

Date:

 

Returned because:

C 1. Grievable time period has expired.

 

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*Resubmit thix fos wh

C) 2. Ilegible/Incomprehensible.*
CJ 3. Originals not submitted. *

corrections are made.

CI 4. Inappropriate/Excessive attachments.*

[1 5. Malicious use of vulgar, indecent, or physically threatening language.

CI 6. Inappropriate.*

CGO Staff Signature:

AUG 19 2020

 

 

 

1-128 Back (Revised 11-2010)

 

OFFICE USE ONLY

Initial Submission
Date UGI Recd:

CGO Initials:

 

Date CGO Recd:

 

(check one) Screened

Comments:

Improperly Submitted

 

Date Returned to Offender:
24 Submission
Date UG] Recd:

CGO Initials:

 

Date CGO Recd:

 

(check one)___ Screened

Comments:

Improperly Submitted

 

Date Returned to Offender:
3 Submission
Date UGI Recd:

CGO Initials:

 

Date CGO Recd:

 

(check one) Screened

Comments:

Improperly Submitted

 

Date Returned to Offender:

 

Appendix G

 

 
 

 

Case 4:20-Esm ge poy ngmieanct Fan ObORGORAUNTXSE Baye $47 du
Texas Department of Criminal Justice OFFICE USE ONLY

Grievance od ao/$o 774
OFFENDER It 7 —

STP j ns . EF 7 Date Received:
i GRIEVANCE FORM a8) - Fi 28

Date Due:

 

  

 

Grievance Code: ___

Offender Name: Cod. Bur vss. TDCI # SoH Ss YY Investigator LD #: } = a

Unit: Puc ‘e AN Housing Assignment: Extension Date:

Unit where incident occurred: | Lo \lare Rac c __ _ Date Retd to orrenaeG2QE7-FHAL
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You must try fe resoive your problen: with a statf member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing.

Who did you talk to (naine, title)? Send T-6O to Wacdens __ When? Del4Y~- Qo

What was their resronse? NE LtHER On® Gasusred _*xhe._T-0 ctl
What action was taken? This. —Gcievonty aod o Gopy cunt + _to Dovid. James Edwads bow

State your grievance in tiie space provided. Please state who, what, , when, where and the disciplinary case number if appropriate

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Appendix F

 
 
  
 

Case 4:20-cv-01115 Document 417 Filed on 09/30/20 in TXSD Page 9 of 21

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cod’ Stach aching We yoo core now. bt Eduadds Law Cam

Offender Signature: A? iE, es oe wis ae
Crievance Response: TOUt OD Investigated: Per Untt Administration the "arene
allace Pack Unit has adhered to all precautionary measures TDCJ has established
regarding COVID-19 and staff follow strict guidelines and protocols as directed to include
cleaning and properly wearing PPE. Offenders were also given a COVID-19 what to do
card which states some of the symptoms associated with COVID-19. No further action

warranted at this time.

 

 

Signature Authority: | Sj we
lf sua are dissatisfied withAhe Sie fseohse. yor ma’ su a Step DUE T2I£) £ eunituinievane: boven dgstor whoa io days foam the date chia. step i respeng.

 

 

 

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5. No documented attempt at informa! resolution. *

 

Gj 6. No requested relief is stated. *

 

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(J 11. Inappropriate. Date Keturned to Offender: _ ce
UGI Printed Name/Signature: 3Submission UGI Initiais:,

 

Grievance #: _

Application of the screening criteria for this grievance is not expected to adversely Screening Criteria Used
zy {Tlie J :

Affect the offender’s health. g —_

Date Recd from Offender:

Medical Signature Authority: Date Returned to Offender:

 

 

]-127 Back (Revised 11-2010)
Appendix I
 

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Texas Department of Criminal Justice | Gicsxccx a? gogo THY

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% fEP 2 OFFENDER HO Reed Bare: Lt 21°
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GRIEVANCE FORM ne Se lLOu

Offender Mame: LLoud EF. g uccuss TDCI # Bo Yss Ul __ | Grievance Code: yO
Unit: Roc \ Housing Assignment: f- 4-\4 _ | investigater IDA:
Uni: where incident occurred: Cock \ Exiension Date: ec eeternee wren
i

You must attach the completed Step 1 Grievance thai has been signed by the Warden for your Step 2 appeal io he

accepted. You may not appeal to Step 2 with a Step | that has been returned unprocessed.
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Give reason for appeal (Be Specific). / ai clissatisfied with the response at Step | because.

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Appendix G

 
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_ AY Gaswy NEY _BBVE mb of Ahnu Ste AL

 

Offender Signature: DR Gq. Burne . 7 Date: 7-4- ao

Grievance Response:

Your Step 2 grievance has been investigated by this office. You were appropriately advised at
Step 1 level. All guidelines and protocols set by the TDCJ Administration are being followed by
the Pack Unit Administration and staff. If you think you may have a symptom of COVID-19 notify
security staff and they will contact the medical office. COVID-19 information is provided to
offenders in a timely manner. No further action warranted by this office.

T. PHILLIPS
Signature Authority: Ta vate: °@ AD Loe

 

 

 

 

 

 

 

 

 

 

Returned because: *ReNtomnit this form when corrections are made. OFFICE USE ON. LY
Initial Submission CGO Initiais:
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comes ~™ Date Returned to Offender
L! 5. Malicioss use of vulyar, indecent, or physically threatening language.) 2" Submission CGG Initials: ee
Ll 6. Inappropriate.* Date UGI Reed — -
Date CGO Reed
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Comments:
CGO Staff Signature: Date Returned to Offender
3 Submission CGO tunities: _
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Grievance #:

 

OFFENDER
STEP 1. Grievance FORM

Date Received:

Date Due:

 

 

Grievance Code:

 

Offender Name: Lroud E. Borcy 35 TDCI #_SG4YSS Investigator ID #:
Unit: Qa \ Housing Assignment: hy. - yy Extension Date:
Unit where incident occurred: Rac \ wk Date Retd to Offender:

 

 

 

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing.

Who did you talk to (name, title)? Grievance offices Hoplins When? J- 6-20 GS am
What was their response? Lo Kv Nats So Send “hem to Huntsville Gnd She pv Hem on Yn Jahke

j What action was taken? Sreu rrov sh AL Grsananed 6\ Yk an Thy bunk .

 

 

acta ryeuiineppte

State your grievance in the space provided. Please state ne ee when, where and the disciplinary case number if appropriate

 

en gy Warn a wed & CO) tom
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Awe “Lode Ae eight F Hinata tals Pre come . why eat dp ms
Nae hu Wecowest Abe Sena GS ck me walk 10 ofl calling me. _& Cite HOA

L _ SO hn vid

 

 

 

   
    

 

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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

AUG 1 1 2020

 
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Action Requested Ive your C laint. . .

Action Requested to resolve your Complain Fac we ox Anes hy ye. scnd back Lo Hosts yi Ihe
Npaenit. “Ein nok GCCePhiog, Wnt copits Le weirs the odpinels .

Offender Signature: Hoy & Quen, Date: xX -G- oo _

Grievance Response:

 

Signature Authority: Date:

Hf you are dissatisfied with the Step 1 response, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason for appeal on the Step 2 Form.

 

Returned because: *Resubmit this form when the corrections are made.

 

CO 1. Grievable time period has expired.
2. Submission in excess of | every 7 days. * OFFICE USE ONLY

Original t submitted. * Initial Submission UGI Initials:
3. riginais not submutted.
Grievance #:

 

[-] 4. Inappropriate/Excessive attachments. * . Co a,
; Screening Criteria Used:
5. No documented attempt at informal resolution. *

(16. No requested relief is stated. *

7. Malicious use of vulgar, indecent, or physically threatening language. *

Date Reed from Offender:
Date Returned to Offender:

2"¢Submission UGI Initials:

(18. The issue presented is not grievable.
(J 9. Redundant, Refer to grievance #

 

(J 10. illegible‘Incomprehensible. *
oO 11. Inappropriate. *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

 

1-127 Back (Revised 11-2010)

 

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Returned to Offender:

3“ Submission UGI Initials:

Grievance #:

 

Sereening Criteria Used:
Date Recd from Offender:

Date Returned to Offender: _

 

Appendix F

 
— Case 4:20-cv-01115 Document 417 Filed on 09/30/20 in TXSD_ Page 17 of 21

TEXAS DEPARTMENT OF CRIMINAL JUSTICE

 

inter-Office Communication ON
Administrative Review and Risk Management Wr
Offender Grievance
TO: offender Burruss, Lloyd DATE: 08/21/20
TDCJ #: 00864554 ,
This 15 Whad they send me,
UNIT: Pi his '
FROM: Central Grievance Office SUBJECT: Improperly Submitted Grievance

 

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May 2017

 

Your documents received in this office have been reviewed and a response is indicated below. Contact
the warden, major, chief of classification or a security officer for issues you deem as an emergency;
however,
additional information or assistance, you may contact the Unit Grievance Investigator at your unit.

are not considered an emergency through the Offender Grievance procedure. if you need

Please utilize the Offender Grievance Procedure to address your concerns.

A copy of the Instructions on How to Write and Submit Grievances is enclosed for your
information.

Policy requires that all grievances be submitted through your Unit Grievance Investigator within
15 days of the applicable date.

These issues have been reviewed at both steps of the grievance procedure. No other administrative
remedies are available to you regarding the issue. Further action by this office is not warranted.

If you wish to obtain a copy of a Step 1 grievance, contact your Unit Grievance Investigator via |-
60 Request to Authority. The records retention for grievances is three years.

Your Step 1 grievance(s) was properly screened.
Contact the Law Library concerning your requested information or open records request.
Records indicate that grievance # is currently under review at Step

The use of vulgar language towards staff in your grievance will not be tolerated and may result
in disciplinary action being taken by unit administration.

This Step 2 appeal is being returned to you without action; however, the unprocessed Step 1
grievance is under review.

This Step 2 appeal cannot be processed without the corresponding original, answered Step 1
grievance.

You may not submit a Step 2 appeal on a Step 1 grievance that was screened using one of the
screening criteria and returned to you unprocessed.

You had the option of correcting screened grievance # and resubmitting to
the unit grievance investigator within 15 days from the date of the returned grievance.

It is not permissible to mail your grievances directly to the Central Grievance Office. Submitting
your grievances incorrectly may result in your grievable time to expire.

This issue is currently being addressed in grievance # . If you are not satisfied
with the Step 1 response, you may appeal the Step 1 decision by filing a Step 2 (I-128).

Records indicate that Grievance # was returned to you on

You cannot submit another Step 2 on a previously addressed Step 1 & 2. Records indicate that
Step 2 Grievance # was returned to you on

 

 
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REASON FOR REQUEST: (Please check one)

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INMATE REQUEST TO OFFICIAL

ICE 9

ROR ase 18 of 21

CC/Gled #9- 99

PLEASE ABIDE BY THE FOLLOWING CHANNELS OF COMMUNICATION. THIS WILL SAVE TIME, GET YOUR REQUEST TO THE

PROPER PERSON, AND GET AN ANSWER TO YOU MORE QUICKLY.

1. (Unit Adsignment, Transfer (Chairman of Classification,

    

Classification)
4. (2 Clemency-Pardon, parole, early out-mandatory supervision

(Board of Pardons and Paroles, 8610 Shoal Creek Bivd.
Austin, Texas 78757)

TO: Gri eones OFF i cer

 

5.

6.

7.

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VisitinN.ist (Asst. Director of classification, Administration
Building)

Parole requireme
Counselor)

and related information (Unit Parole

   

In on Record (Reque
mation on parole eligibility, discha
Administration)

for copy of record, infor-
date, detainers-Unit

Personal Interview with a representative of an outside
agency (Treatment Division, Administration Building)

DATE: 3° Y- ad

 

(Name ari title of oificial)

ADDRESS: Pack | Uni f

 

 

 
SUBJECT: State brameandpdbletiorOnicl fou ddxneusnenéAl7 Filed on 09/30/20 in TXSD Page 19 of 21 =.

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Page 21 of 21
